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                         UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

                                           )
   Fallen Productions, Inc., et al.        )   Case No.: 1:20-cv-33-JAO-RT
                                           )   (Copyright)
                     Plaintiffs,           )
      vs.                                  )   DECLARATION OF COUNSEL
                                           )
   MICAL MESOT,                            )
                                           )
                     Defendant.            )
                                           )
                                           )
                                           )
                                           )

                            DECLARATION OF COUNSEL

        KERRY S. CULPEPPER, hereby declares under penalty of law that the

  following is true and correct:

        1.     I am an attorney and represent the Plaintiffs, I have personal knowledge

  of the matters stated herein, and this declaration is given in support of Plaintiffs’

  Motion for Default Judgment.

        2.     On July 20, 2020 I left a voice mail message with Defendant requesting

  that he inform me of when he was available to have the Rule 26 Conference or if had

  engaged counsel. He never replied to my voice mail message.




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        3.     Defendant’s      publicly        available    Linkedin      profile    at

  https://www.linkedin.com/in/mical-mesot-7b2218110/ [last accessed on August 13,

  2020] indicates that he previously worked in the US Army performing helicopter

  inspections and technical maintenance.

        4.     Defendant’s publicly available Facebook website includes the name

  “angelswarcry”    and    includes   a     photograph      of   a   helicopter.     See

  https://www.facebook.com/angelswarcry/likes_all [last accessed on July 1, 2020].

        5.     According to many websites, angel is a slang for helicopter. See

  https://sierrahotel.net/pages/aviation-slang-pilot-slang [last accessed on August 13,

  2020] (“Angel - Carrier rescue helicopter”).

        6.     As shown in Exhibit “4” to the Second Amended Complaint, Defendant

  used the email address “angelswarcry@gmail.com” to login to the YTS website

  from IP address 72.130.106.50.




        7.     The Internet Service Provider Charter identified Defendant as the

  subscriber at IP address 72.130.106.50.




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          8.    The name chosen for the email address that logged into YTS is

  remarkable similar with Defendants’ chosen name for his Facebook website and his

  publicly identified interests and career experience.

          9.    I have direct knowledge of the legal services performed for Plaintiff and

  the costs incurred in filing this action.

          10.   Plaintiffs seek an award of attorney’s fees for legal services and for its

  costs of suit as described in detail below.



  Plaintiff’s Costs

   Date           Description                              Amount
   1/23/2020      Complaint Fee [Doc. #1]                  400
   4/1/2200       Charter IP address lookup fee            2600
   12/4/2019      Fee to personally serve Defendant        162.30
                  TOTAL                                    3162.30




  Kerry Culpepper’s Attorney Fees

   Date           Description                              Hours      Code

   11/25-         Email exchange with Senthil Segaran 0.25            A
   11/27/2019     (operator of YTS website) to obtain
                  user data for uploader/downloader of
                  Angel Has Fallen movie to YTS.LT;
   3/23/2020      Preparing proposed certificate of    0.50           A
                  authority to Segaran and sending for
                  signature


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   1/21/2020    Communication with MEU re            1         A
                infringement captures for
                Defendant’s swarm; Preparing draft
                declaration for Daniel Arheidt [Doc.
                #1-4]
   1/23/2020    Preparing and Filing Complaint       4         B
                [Doc. #1]
                - Studying observed IP address
                downloads of Defendant
                - Pulling screenshots of YTS website

   2/2/2020     Preparing and Filing Ex Parte           0.25   E
                Motion for Early Discovery [Doc.
                #8]
   2/18/2020    Studying Order Granting Motion          0.25   E
                [Doc. #13]
   2/18/2020    Preparing Subpoena to Charter;          1      E
                Submitting to Charter via online
                portal
   2/20/2020    Preparing and submitting first          0.25   E
                motion to extend time to serve
   3/17/2020    Preparing and submitting scheduling     0.25   E
                conference statement
   4/1/2020     Email exchange with Charter re          0.25   A
                subpoena; payment for production
                fee
   5/4/2020     Email exchange with Charter re          0.25   A
                status of response to subpoena;
                sending Charter copy of EO [Doc.
                #19]
   5/4/2020     Studying Charter response to            1      A
                Subpoena with Subscriber data
   5/7/2020     Researching public info of Defendant    0.5    A
   5/21/2020    Preparing and Filing Motion for         0.75   E
                leave to file first amended complaint
                (FAC) [Doc. #20]
   6/8/2020     Filing FAC                              0.25   B



                                         4
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   7/3/2020 & Preparing and filing motion for leave   3.5    E
   7/6/2020   to file second amended complaint
              (SAC) [Doc. #25]
   7/9/2020   Filing Second Amended Complaint;        1.5    B
              Request for Summons
   7/13/2020& Email with Process Server re Serve      0.75   A
   7/17/2020  Request – sending photograph of
              Defendant and description; Follow
              up emails re Serve Status
   7/17/2020  Preparing and Filing Motion to          0.75   E
              Extend Time to Serve [Doc. #31]
   7/20/2020  Tel Call to Defendant to Request        0.25   A
              Rule 26 Conference
   7/21/2020  Preparing and Filing Updated            0.50   E
              Scheduling Conference Statement
              [Doc. #34]
   8/11/2020  Preparing and Filing Request for        2      E
              Entry of Default [Doc. #37]
              - Searching Lexis Records to
              determine whether Defendant is
              active duty (inconclusive)
              - Searching SRA records of Defense
              Manpower Data Center (DMDC of
              the Department of Defense (DoD) to
              obtain certificate of records for
              Defendant (note required registering
              for an account)
   8/12/2020  Preparing Motion for Default            5      E
              Judgment
              -reviewing pleading history
              -reviewing cases on liability for
              extraterritorial infringements and
              limits of right of distribution
              -reviewing laws in support of
              calculation of actual damages based
              upon retail price and number of
              infringements
   8/13/2020  Preparing Motion for Default            3      E
              Judgment

                                        5
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                  -Studying Defendant’s publicly
                  available Facebook page and
                  linkedin records
                  -Calculating Fees
   8/13/2020      Preparing Bill of Costs and            1         E
                  Tabulating Attorneys Fees for
                  Motion
                  TOTAL HOURS


        A. Case Development, Background Investigation, and Case Administration:

                KERRY CULPEPPER          4.75 hour @ $250/hour =        $ 1187.50

        B. Pleadings

                KERRY CULPEPPER          5.75 hour @ $250/hour =        $ 1437.50

        E. Motions Practice

                KERRY CULPEPPER          18.50 hours @ $250/hour =      $ 4625

                Total for All Litigation Phases: A + B + E =            $ 7250

  Summary of Fees by Attorney

        KERRY CULPEPPER            29 hours @ $250/hour =          $ 7,250

        JOSHUA LEE (Law Clerk) 3.75 hours @ $125/hour =            $ 468.75

        State Tax (4.712%)                                              $ 363.71

        Costs                                                           $ 3162.30

        Total Fees and Tax                                              $ 11,244.76




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        11.    The hourly rate charged for the foregoing services by declarant were at

  or below rates customarily charged in the community for similar work by attorneys

  of similar, experience, ability, and standing in the Honolulu legal community, and is

  at the rate awarded by this Court in a similar, prior default action. I specialize in

  intellectual property, particularly electrical and computer software technology.

        12.    I am a solo practitioner specializing in intellectual property, particularly

  electrical and computer software technology. I have been licensed to practiced law

  in Virginia since 2000 and in Hawaii since 2012. I have been licensed to practice

  before the United States Patent and Trademark Office since 2000. I have a Bachelor

  of Civil Engineering and a Master of Science in Electrical Engineering. I have

  litigation experience in copyright, trademark and patent infringement. I was selected

  by a committee of the American Intellectual Property Law Association (“AIPLA”)

  to be a delegate for a joint meeting between AIPLA and the Japan Patent Attorney

  Association (JPAA) on April 8, 2014. I have given lectures to other patent attorneys

  and agents at the conference for the National Association of Patent Practitioners in

  2016 and in July of 2019.

        13.    Declarant’s hourly rate of $250 is below the 2014 mean hourly rate of

  $379 for a solo practitioner specializing in Electrical technologies according to the

  AIPLA 2015 Report of the Economic Survey. Am. Intellectual Prop. Law Ass’n,

  Report of the Economic Survey (2015), at I-15. Exhibit 4.


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        14.   The legal services performed by declarant were reasonable and

  necessary in connection with the proceedings in the above captioned matter.

        15.   The total fee requested is reasonable and in accordance with the

  standards of Hawaii Rules of Professional Conduct Rule 1.5.

        I declare under penalty of perjury that the foregoing is true and correct.



        DATED: Kailua-Kona, Hawaii, August 13, 2020.

                                  CULPEPPER IP, LLLC


                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper




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